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1    Amberlea Davis
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4    Phone: (702) 440-8000
     Email: Amber@SheIsMyLawyer.com
5    Attorney for:Plaintiff
6                                  UNITED STATES DISTRICT COURT
7                                          DISTRICT OF NEVADA
8
9                                                  )
     KIMBERLY BENDER, an individual.               )                  Case No.:2:18-cv-00663-JCM-PAL
10                                                 )
11          Plaintiffs                             )
                                                   )                  STIPULATION AND ORDER TO
12   v.                                            )                  CONTINE RESPONSIVE
                                                   )                  DEADLINES
13   CLARK COUNTY SCHOOL DISTRICT, a county school )
14   district;                                     )
                                                   )
15            Defendant                            )
                                                   )
16                                                 )
17
     KIMBERLY BENDER, by and through the undersigned attorney and CLARK COUNTY SCHOOL
18
     DISTRICT, by and through their undersigned attorney, stipulate that KIMBERLY BENDER be given
19
20   until January 17, 2018 to respond to Defendant’s Motion for Attorney Fees and Costs ECF No. 21.

21   The reason is that the motion was filed just before the holidays and counsel for Plaintiff was
22
     unavailable from December 21 through January 2. The extension will not effect any hearings as no
23
     hearings are currently set.
24
     Respectfully submitted this 7th day of January, 2019.
25
26          _____/s/ Amberlea Davis___                      ____/s/ S. Scott Greenberg___
27          Amberlea Davis attorney for Plaintiff           S. Scott Greenberg, Esq attorney for CCSD
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1
2                                                  ORDER

3            IT IS HEREBY ORDERED that the deadline for Plaintiff to file its response to Defendant’s
4    Motion for Attorney Fees and Costs, ECF No. 21, is extended from January 2, 2019 to January 17,
5
     2019.
6
                                         ________________________________
7
8                                        United States District Judge

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                                         Dated:
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